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 3
     Telephone: (916) 422-4022
 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                    )
 8   UNITED STATES OF AMERICA,                      )   Case No.: 2:16-cr-00025-TLN
 9             Plaintiff,                           )
                                                    )   STIPULATION AND ORDER
10          v.                                      )   CONTINUANCE OF JUDGMENT AND
                                                    )   SENTENCING
11   JORGE VEGA-MACIAS,                             )
              Defendant.                            )
12                                                  )
13                                                  )

14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Judgment and Sentencing scheduled for July 27, 2017, is continued to October 5, 2017, at
16
     9:30 a.m. in the same courtroom. Defendant needs additional time to prepare for
17
     sentencing. Justin Lee, Assistant United States Attorney, and Thomas A. Johnson,
18
     Defendant’s attorney, agree to this continuance. The PSR schedule is to be amended as
19
     follows:
20
21   Judgment and Sentencing date:                             October 5, 2017
22
23   Reply or Statement                                        September 28, 2017

24   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                  September 21, 2017
25   served on the Probation Officer and opposing
26   counsel no later than:

27   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later               September 7, 2017
28   than:


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 1
     Counsel’s written objections to the Pre-
 2   Sentence Report shall be delivered to the             August 24, 2017
     Probation Officer and opposing counsel
 3   no later than:
 4
 5   IT IS SO STIPULATED.
 6
 7   Dated: June 30, 2017                                 /s/ Thomas A. Johnson
                                                          THOMAS A. JOHNSON
 8                                                        Attorney for Jorge Vega-Macias
 9
10                                                         PHILLIP A. TALBERT
                                                           United States Attorney
11
12   Dated: June 30, 2017                                 /s/ Justin Lee
                                                          JUSTIN LEE
13
                                                          Assistant U.S. Attorney
14
15                                               ORDER
16
17   IT IS SO ORDERED.
18
     Dated: June 30, 2017
19
20                                                       Troy L. Nunley
21                                                       United States District Judge

22
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